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                            ANAVEX LIFE SCIENCES CORP. (NASDAQ: AVXL)
                     CERTIFICATION PURSUANT TO THE FEDERAL SECURITIES LAWS

                    I, Kenneth Downing, declare that:

                   1.     I have reviewed the facts and allegations of the complaint against Anavex Life
            Sciences Corp. (“Anavex”), and I authorize the filing thereof.

                    2.      I did not purchase or acquire Anavex securities at the direction of my counsel, nor
            in order to participate in any private action under the federal securities laws.

                   3.      I am willing to serve as a representative party on behalf of the class, including
            providing testimony at deposition and trial, if necessary. I understand that this is not a claim
            form, and that my ability to share in any recovery as a member of the class is not dependent upon
            execution of this Certification.

                   4.     My transactions in Anavex securities during the proposed Class Period of June
            21, 2021, through and including January 1, 2024, are attached hereto in Schedule A. I have
            complete authority to bring a suit to recover for investment losses for all securities set forth in
            Schedule A.

                    5.       (a)    During the three (3) year period preceding the date on which this
            certification is signed, I have sought to serve as a representative party on behalf of a class under
            the United States federal securities laws in the following action:

                            Cement Masons’ and Plasterers’ Local No. 502 Pension Fund v. InMode Ltd., et
                            al., Case No. 2:24-cv-01219 (C.D. Cal.)

                           (b)     I have not been appointed to serve as a representative party on behalf of a
            class under the United States federal securities laws during the three (3) year period preceding
            the date on which this certification is signed.

                   6.      I have not accepted and will not accept any payment for serving as a
            representative party on behalf of the class beyond my pro rata share of any recovery, except for
            any award for reasonable costs and expenses (including lost wages) directly relating to the
            representation of the class, as ordered by the Court.

                    I declare under penalty of perjury, under the laws of the United States of America, that
                                                     5/7/2024
            the foregoing is true and correct as of _______________.


                                                             __________________________
                                                             Kenneth Downing
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                                                             Schedule A


                                            Transactions of Kenneth Downing
                                          in Anavex Life Sciences Corp. (AVXL)
                                         (June 21, 2021, through January 1, 2024)

                    Date             Transaction              Security            Shares             Price
                  06/21/21              Sell                   AVXL               (1,414)          $25.4098
                  06/21/21              Sell                   AVXL                (400)           $25.4098
                  06/21/21              Sell                   AVXL                (186)           $25.4097
                  07/20/21              Buy                    AVXL                2,000           $21.0650
                  07/29/21              Buy                    AVXL                1,000           $19.6647
                  07/29/21              Buy                    AVXL                 100            $19.2550
                  07/29/21              Buy                    AVXL                 400            $19.1350
                  08/02/21              Buy                    AVXL                 500            $18.4500
                  08/30/21              Buy                    AVXL                1,000           $18.5190
                  09/09/21              Buy                    AVXL                2,000           $19.1800
                  09/15/21              Buy                    AVXL                3,000           $17.0262
                  09/20/21              Buy                    AVXL                2,000           $16.8981
                  01/14/22              Buy                    AVXL                7,600           $13.9000
                  01/14/22              Buy                    AVXL                 600            $13.8900
                  01/14/22              Buy                    AVXL                  73            $13.8800
                  01/14/22              Buy                    AVXL                1,676           $13.8700
                  01/14/22              Buy                    AVXL                  51            $13.8600
                  10/05/22              Buy                    AVXL                1,000           $10.7400
                  11/11/22              Sell                   AVXL                (914)           $14.3573
                  11/11/22              Sell                   AVXL                 (86)           $14.3573
                  11/21/23              Buy                    AVXL                1,000            $6.8900




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